                        UNITED STATES BANKRUPTCY COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE AT NASHVILLE

 In re:                                                            Case No. 16-08398
                                                                   Chapter 11
 DONALD ERNEST BRANDT,                                             Judge Randal S. Mashburn
               Debtor.
                                                                          ORIGINAL CHAPTER 11 PLAN




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                                                  I.

                                         INTRODUCTION

         Donald Ernest Brandt is the Debtor in a Chapter 11 bankruptcy case. On November 22,
 2016, Debtor commenced a voluntary bankruptcy case by filing a Chapter 11 petition under the
 United States Bankruptcy Code (“Bankruptcy Code”), 11 U.S.C. § 101 et seq. This document is
 the Chapter 11 Plan (“Plan”) proposed by the Debtor (“Plan Proponent”). Sent to you in the
 same envelope as this document is the Disclosure Statement which is pending final approval by
 the Court, and which is provided to help you understand the Plan.
         This is a reorganization plan. In other words, the Proponent seeks to accomplish
 payments under the Plan by using Debtor’s income. The Effective Date of the proposed Plan is
 45 days after confirmation.


                                                  II.

          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

    2.      General Overview

         As required by the Bankruptcy Code, the Plan classifies claims and interests in various

 classes according to their right to priority of payments as provided in the Bankruptcy Code. The

 Plan states whether each class of claims or interests is impaired or unimpaired. The Plan

 provides the treatment each class will receive under the Plan.

    2.      Unclassified Claims

         Certain types of claims are not placed into voting classes; instead they are unclassified.

 They are not considered impaired and they do not vote on the Plan because they are

 automatically entitled to specific treatment provided for them in the Bankruptcy Code. As such,

 the Proponent has not placed the following claims in a class. The treatment of these claims is


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 provided below.

         2.      Administrative Expenses

         Administrative expenses are claims for costs or expenses of administering the Debtor’s

 Chapter 11 case which are allowed under Code Section 507(a)(1). The Code requires that all

 administrative claims be paid on the Effective Date of the Plan, unless a particular claimant

 agrees to a different treatment.

         There are no administrative claims under the plan except for any quarterly fees owed by

 the Debtors that may become due between now and the confirmation of the case. Debtor

 estimates that two more quarters of fees will become due before the case can be confirmed and

 close. Additionally there may be unpaid attorney’s fees for Steven L. Lefkovitz, Counsel for the

 Debtor-in-possession, which are subject to the approval of the Court. These fees would not be

 due on the effective date and Counsel for the Debtor will agree to defer payments in a mutually

 agreed upon payment plan.

         At this time, is in difficult to predict if any additional attorney fees based on the fact that

 the adversary proceeding is still in the early stages of litigation.


         2.      Priority Tax Claims

         Priority tax claims are certain unsecured income, employment and other taxes described

 by Code Section 507(a)(8). The Code requires that each holder of such a 507(a)(8) priority tax

 claim receive the present value of such claim in deferred cash payments, over a period not

 exceeding six years form the date of the assessment of such tax.

                 There are no priority tax under this Plan.

 C.      Classified Claims and Interests


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         1.     Classes of Secured Claims

         Secured claims are claims secured by liens on property of the estate. The following chart

 lists all classes containing Debtor’s secured pre-petition claims and their treatment under

 this Plan:
 CLASS          DESCRIPTION                INSIDERS       IMPAIRED                     TREATMENT
    #                                       (Y/N)             (Y/N)

          Secured claim of:                                                   Pymt interval   = Monthly
  3-A                                         N           Y, Claims in
            Name = Trifera, LLC                                              Pymt
            Collateral description =                     this class are
                                                                               amt/interval    = $462.96
             House and lot located at
             1314 Courtney Dr.,                            entitled to
                                                                                               Principal &
             Clarksville, TN                              vote on the                          Interest, Debtor
            Collateral value =
                                                              plan.                            will also pay
             $95,300.00
            Priority of security int. =                                                       escrow, which
             First                                                                             may fluctuate over
            Principal owed =
                                                                                               time
             $76,399.00
                                                                              Begin date      = 1st day of the
            Total claim amount =
             $94,445.67, Debtor has                                                            month after
             filed an objection to this                                                        effective date
             claim
                                                                              End date        = 20 years after
                                                                                               effective date
                                                                              Interest rate   = 4.00%
                                                                              Total payout    = $111,110.40

                                                                              Treatment of    = Retained until

                                                                               Lien            completion of
                                                                                               payments




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        Secured claim of:                                              Pymt interval   = Monthly
  3-B                                     N        Y, Claims in
          Name = F&M Bank                                             Pymt            = $560.07
          Collateral description =                this class are
                                                                        amt/interval
           House and lot located at
           1825 Pinnacle Rd,                        entitled to        Begin date      = 1st day of the
           Pleasant View, TN                       vote on the                          month after
          Collateral value =                                                           effective date
           $149,800.00                                 plan.
          Priority of security int. =                                 End date        = 20 years after
           First                                                                        effective date
          Principal owed =                                                             = 4.00%
                                                                       Interest rate
           $55,964.68 less
                                                                       Total payout    = $84,974.40
           adequate protection
                                                                                        = Retained until
           payments                                                    Treatment of
          Total claim amount =                                                         completion of
                                                                        Lien
           $55,964.68 less                                                              payments
           adequate protection
           payments

        Secured claim of:                                              Pymt interval   = Monthly
  3-C                                     N        Y, Claims in
          Name = Dennis Guffey                                        Pymt
          Collateral description =                this class are
                                                                        amt/interval    = $597.47
           House and lot located at
           1825 Pinnacle Rd,                        entitled to        Begin date      = 1st day of the
           Pleasant View, TN                       vote on the                          month after
          Collateral value =                                                           effective date
           $149,800.00                                 plan.
          Priority of security int. =                                 End date        = 5 years after the
           Second                                                                       effective date
          Principal owed =                                                             = 5.50%
                                                                       Interest rate
           $31,279.00
                                                                       Total payout    = $35,484.20
          Total claim amount =
           $36,277.15, Debtor has                                      Treatment of
           filed an objection to this                                                   = Retained until
                                                                        Lien
           claim
                                                                                        completion of
                                                                                        payments




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        Secured claim of:                                              Pymt interval   = Monthly
  3-A                                     N        Y, Claims in
          Name = BAC Home                                             Pymt
           Loans Servicing, LLP                    this class are
                                                                        amt/interval    = $85.91
          Collateral description =
           House and lot located at                 entitled to        Begin date      = 1st day of the
           1314 Courtney Dr.,                      vote on the                          month after
           Clarksville, TN                                                              effective date
          Collateral value =                          plan.
           $95,300.00                                                  End date        = 20 years after
          Priority of security int. =                                                  effective date
           Second                                                                       = 4.00%
                                                                       Interest rate
          Principal owed =
                                                                       Total payout    = $20,618.40
           $14,176.77
          Total claim amount =                                        Treatment of
           $14,176.77                                                                   = Retained until
                                                                        Lien
                                                                                        completion of
                                                                                        payments




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        Secured claim of:                                              Pymt interval   = Monthly
  3-A                                     N        Y, Claims in
          Name = Carrington                                           Pymt
           Mortgage Services, LLC                  this class are
                                                                        amt/interval    = $276.22
          Collateral description =
           House and lot located at                 entitled to                         Principal &
           398D Jack Miller Blvd.,                 vote on the                          Interest, Debtor
           Clarksville, TN                                                              will also pay
          Collateral value =                          plan.
                                                                                        escrow, which
           $63,800.00
          Priority of security int. =                                                  may fluctuate over
           First                                                                        time
          Principal owed =
                                                                       Begin date      = 1st day of the
           $45,582.83
          Total claim amount =                                                         month after
           $45,582.83                                                                   effective date

                                                                       End date        = 20 years after
                                                                                        effective date

                                                                       Interest rate   = 4.00%

                                                                       Total payout    = $66,292.80

                                                                       Treatment of
                                                                                        = Retained until
                                                                        Lien
                                                                                        completion of
                                                                                        payments




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        Secured claim of:                                              Pymt interval   = Monthly
  3-A                                     N        Y, Claims in
          Name = Wells Fargo                                          Pymt
           Bank, NA                                this class are
                                                                        amt/interval    = $383.33
          Collateral description =
           House and lot located at                 entitled to                         Principal &
           135 Renee, Dover, TN                    vote on the                          Interest, Debtor
          Collateral value =                                                           will also pay
           $70,200.00                                  plan.
                                                                                        escrow, which
          Priority of security int. =
           First                                                                        may fluctuate over
          Principal owed =                                                             time
           $63,257.36
                                                                       Begin date      = 1st day of the
          Total claim amount =
           $63,257.36                                                                   month after
                                                                                        effective date

                                                                       End date        = 20 years after
                                                                                        effective date

                                                                       Interest rate   = 4.00%

                                                                       Total payout    = $91,999.20

                                                                       Treatment of
                                                                                        = Retained until
                                                                        Lien
                                                                                        completion of
                                                                                        payments




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        Secured claim of:                                              Pymt interval   = Monthly
  3-A                                     N        Y, Claims in
          Name = Deutsche Bank                                        Pymt
           National Trust                          this class are
                                                                        amt/interval    = $276.08
           Company
          Collateral description =                 entitled to                         Principal &
           House and lot located at                vote on the                          Interest, Debtor
           398B Jack Miller Blvd.,                                                      will also pay
           Clarksville, TN                             plan.
                                                                                        escrow, which
          Collateral value =
           $63,800.00                                                                   may fluctuate over
          Priority of security int. =                                                  time
           First
                                                                       Begin date      = 1st day of the
          Principal owed =
           $45,559.21                                                                   month after
          Pre-pet. Arrearage                                                           effective date
           amount = $0.00
                                                                       End date        = 20 years after
          Total claim amount =
                                                                                        effective date
           $45,559.21
                                                                       Interest rate   = 4.00%

                                                                       Total payout    = $66,259.20

                                                                       Treatment of
                                                                                        = Retained until
                                                                        Lien
                                                                                        completion of
                                                                                        payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Bank of                                               Pymt
           America                                  this class are
                                                                         amt/interval    = $320.55
          Collateral description =
           House and lot located at                  entitled to                         Principal &
           629 Arctic Ave., Oak                     vote on the                          Interest, Debtor
           Grove, KY                                                                     will also pay
          Collateral value =                           plan.
                                                                                         escrow, which
           $79,000.00
          Priority of security int. =                                                   may fluctuate over
           First                                                                         time
          Principal owed =
                                                                        Begin date      = 1st day of the
           $52,898.00
          Total claim amount =                                                          month after
           $52,898.00                                                                    effective date

                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $76,932.00

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Fannie Mae                                            Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $349.17
           House and lot located at
           136 Renee, Dover, TN                      entitled to                         Principal &
          Collateral value =                       vote on the                          Interest, Debtor
           $112,400.00                                                                   will also pay
          Priority of security int. =                  plan.
                                                                                         escrow, which
           First
          Principal owed =                                                              may fluctuate over
           $57,620.80                                                                    time
          Total claim amount =
                                                                        Begin date      = 1st day of the
           $57,620.80
                                                                                         month after
                                                                                         effective date

                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $83,800.80

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Bayview Loan                                          Pymt
           Servicing, LLC                           this class are
                                                                         amt/interval    = $2,736.86
          Collateral description =
           House and lot located at                  entitled to                         Principal &
           3854/3855 Northeast                      vote on the                          Interest, Debtor
           Dr., Clarksville, TN                                                          will also pay
          Collateral value =                           plan.
                                                                                         escrow, which
           $1,000,000.00
          Priority of security int. =                                                   may fluctuate over
           First                                                                         time
          Principal owed =
                                                                        Begin date      = 1st day of the
           $451,641.64
          Total claim amount =                                                          month after
           $451,641.64                                                                   effective date

                                                                        End date        = 30 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $656,846.40

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Seterus, Inc.                                         Reg Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $374.50
           House and lot located at
           149 Union Hall Rd.,                       entitled to                         Principal &
           Clarksville, TN                          vote on the                          Interest, Debtor
          Collateral value =                                                            will also pay
           $90,100.00                                   plan.
                                                                                         escrow, which
          Priority of security int. =
           First                                                                         may fluctuate over
          Principal owed =                                                              time
           $61,800.00
                                                                        Begin date      = 1st day of the
          Total claim amount =
           $61,800.00                                                                    month after
                                                                                         effective date

                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $89,880.00

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Fannie Mae                                            Reg Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $226.64
           House and lot located at
           370C Jack Miller Blvd.,                   entitled to                         Principal &
           Clarksville, TN                          vote on the                          Interest, Debtor
          Collateral value =                                                            will also pay
           $59,800.00                                   plan.
                                                                                         escrow, which
          Priority of security int. =
           First                                                                         may fluctuate over
          Principal owed =                                                              time
           $37,400.54
                                                                        Begin date      = 1st day of the
          Total claim amount =
           $37,400.54                                                                    month after
                                                                                         effective date

                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $54,393.60

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = First Horizon                                         Reg Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $237.67
           House and lot located at
           410C Jack Miller Blvd.,                   entitled to                         Principal &
           Clarksville, TN                          vote on the                          Interest, Debtor
          Collateral value =                                                            will also pay
           $68,000.00                                   plan.
                                                                                         escrow, which
          Priority of security int. =
           First                                                                         may fluctuate over
          Principal owed =                                                              time
           $39,220.00
                                                                        Begin date      = 1st day of the
          Total claim amount =
           $45,625.60, Debtor has                                                        month after
           filed an objection to this                                                    effective date
           claim
                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $57,040.80

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-A                                     N         Y, Claims in
          Name = Seterus, Inc.                                         Reg Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $245.51
           House and lot located at
           410E Jack Miller Blvd.,                   entitled to                         Principal &
           Clarksville, TN                          vote on the                          Interest, Debtor
          Collateral value =                                                            will also pay
           $68,000.00                                   plan.
                                                                                         escrow, which
          Priority of security int. =
           First                                                                         may fluctuate over
          Principal owed =                                                              time
           $40,515.17
                                                                        Begin date      = 1st day of the
          Total claim amount =
           $40,515.17                                                                    month after
                                                                                         effective date

                                                                        End date        = 20 years after
                                                                                         effective date

                                                                        Interest rate   = 4.00%

                                                                        Total payout    = $101,093.40

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-D                                     N         Y, Claims in
          Name = Citimortgage                                          Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $720.08
           House and lot located at
           1340 Blue Bonnet Dr.,                     entitled to                         Principal &
           Clarksville, TN                          vote on the                          Interest, Debtor
          Collateral value =                                                            will also pay
           $184,000.00                                  plan.
                                                                                         escrow, which
          Priority of security int. =
           First                                                                         may fluctuate over
          Principal owed =                                                              time
           $153,121.21
                                                                        Begin date      = 1st day of the
          Total claim amount =
           $175,602.16, Debtor has                                                       month after
           filed an objection to this                                                    effective date
           claim
                                                                        End date        = 30 years after
                                                                                         effective date

                                                                        Interest rate   = 3.875%

                                                                        Total payout    = $266,068.80

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     N         Y, Claims in
          Name = Gary Jones                                            Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $99.73
           House and lot located at
           2600 Hwy 79, Indian                       entitled to        Begin date      = 1st day of the
           Mound, TN                                vote on the                          month after
          Collateral value =                                                            effective date
           $62,200.00                                   plan.
          Priority of security int. =                                  End date        = 30 years after
           First                                                                         effective date
          Principal owed =                                                              = 3.25%
                                                                        Interest rate
           $22,916.17
                                                                        Total payout    = $35,902.80
          Total claim amount =
           $22,916.17                                                   Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments
        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     N         Y, Claims in
          Name = Mark Davis                                            Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $303.62
           House and lot located at
           3854/3855 Northeast                       entitled to        Begin date      = 1st day of the
           Dr., Clarksville, TN                     vote on the                          month after
          Collateral value =                                                            effective date
           $1,000,000.00                                plan.
          Priority of security int. =                                  End date        = 30 years after
           Second                                                                        effective date
          Principal owed =                                                              = 3.25%
                                                                        Interest rate
           $69,765.31
                                                                        Total payout    = $109,303.20
          Total claim amount =
           $69,765.31                                                   Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     Y         N, Claims in
          Name = Ernest &                                              Pymt
           Bonnie Brandt                            this class are
                                                                         amt/interval    = $248.07
          Collateral description =
           House and lot located at                  entitled to        Begin date      = 1st day of the
           3854/3855 Northeast                      vote on the                          month after
           Dr., Clarksville, TN                                                          effective date
          Collateral value =                           plan.
           $1,000,000.00                                                End date        = 30 years after
          Priority of security int. =                                                   effective date
           Third                                                                         = 3.25%
                                                                        Interest rate
          Principal owed =
                                                                        Total payout    = $89,305.20
           $57,000.00
          Total claim amount =                                         Treatment of
           $57,000.00                                                                    = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments

        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     N         Y, Claims in
          Name = Neada Carr                                            Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $325.46
           House and lot located at
           458 Norris Hancock                        entitled to        Begin date      = 1st day of the
           Rd., Big Rock, TN                        vote on the                          month after
          Collateral value =                                                            effective date
           $29,600.00                                   plan.
          Priority of security int. =                                  End date        = 30 years after
           First                                                                         effective date
          Principal owed =                                                              = 3.25%
                                                                        Interest rate
           $74,783.26
                                                                        Total payout    = $117,165.60
          Total claim amount =
           $76,846.98, Debtor has                                       Treatment of
           filed an objection to this                                                    = Retained until
                                                                         Lien
           claim                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     N         Y, Claims in
          Name = USAA FCU                                              Pymt
          Collateral description =                 this class are
                                                                         amt/interval    = $94.79
           House and lot located at
           1825 Pinnacle Rd.,                        entitled to        Begin date      = 1st day of the
           Pleasant View, TN                        vote on the                          month after
          Collateral value =                                                            effective date
           $149,800.00                                  plan.
          Priority of security int. =                                  End date        = 30 years after
           Third                                                                         effective date
          Principal owed =                                                              = 3.25%
                                                                        Interest rate
           $21,780.00
                                                                        Total payout    = $34,124.20
          Total claim amount =
           $21,780.00                                                   Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments

        Secured claim of:                                               Pymt interval   = Monthly
  3-E                                     N         Y, Claims in
          Name = Macon                                                 Pymt
           Marshall                                 this class are
                                                                         amt/interval    = $29.16
          Collateral description =
           Big City Dogs business                    entitled to        Begin date      = 1st day of the
           equipment                                vote on the                          month after
          Collateral value =                                                            effective date
           $34,000.00                                   plan.
          Priority of security int. =                                  End date        = 30 years after
           First                                                                         effective date
          Principal owed =                                                              = 3.25%
                                                                        Interest rate
           $6,700.00
                                                                        Total payout    = $10,497.60
          Total claim amount =
           $6,700.00                                                    Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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        Secured claim of:                                               Pymt interval   = Monthly
  3-F                                     N         Y, Claims in
          Name = Elizabeth                                             Pymt
           Baskins                                  this class are
                                                                         amt/interval    = $512.79
          Collateral description =
           Lot located at 1592                       entitled to        Begin date      = 1st day of the
           Hwy. 79, Clarksville,                    vote on the                          month after
           TN                                                                            effective date
          Collateral value =                           plan.
           $65,000.00                                                   End date        = Five years after
          Priority of security int. =                                                   effective date, at
           First                                                                         which point all
          Principal owed =
                                                                                         remaining balance
           $49,478.74
          Total claim amount =                                                          will become due
           $49,478.74                                                   Interest rate   = 4.50%

                                                                        Total payout    = $57,376.26

                                                                        Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments

        Secured claim of:                                               Pymt interval   = Monthly
  3-C                                     N         Y, Claims in
          Name = Southern                                              Pymt
           Bancorp Bank                             this class are
                                                                         amt/interval    = $604.31
          Collateral description =
           728 Highland St.,                         entitled to        Begin date      = 1st day of the
           Blytheville, AR                          vote on the                          month after
          Collateral value =                                                            effective date
           $50,000.00                                   plan.
          Priority of security int. =                                  End date        = 5 years after
           First                                                                         effective date
          Principal owed =                                                              = 5.50%
                                                                        Interest rate
           $31,641.60
                                                                        Total payout    = $36,258.60
          Total claim amount =
           $31,641.60                                                   Treatment of
                                                                                         = Retained until
                                                                         Lien
                                                                                         completion of
                                                                                         payments




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         Secured claim of:                                               Pymt interval   = Monthly
  3-G                                      N         Y, Claims in
           Name = Southern                                              Pymt
            Bancorp Bank                             this class are
                                                                          amt/interval    = $604.31
           Collateral description =
            1998 Freightliner                         entitled to        Begin date      = 1st day of the
           Collateral value =                       vote on the                          month after
            $13,000.00                                                                    effective date
           Priority of security int. =                  plan.
            First                                                        End date        = 3 years after
           Principal owed =                                                              effective date
            $12,684.46 less                                                               = 5.50%
                                                                         Interest rate
               adequate protection
                                                                         Total payout    = $13,788.72
               payments
              Total claim amount =                                      Treatment of
               $12,684.46                                                                 = Retained until
                                                                          Lien
                                                                                          completion of
                                                                                          payments

         Secured claim of:                                               Pymt interval   = Monthly
  3-G                                      N         Y, Claims in
           Name = Southern                                              Pymt
            Bancorp Bank                             this class are
                                                                          amt/interval    = $179.73
           Collateral description =
            1991 Rinker                               entitled to        Begin date      = 1st day of the
           Collateral value =                       vote on the                          month after
            $10,000.00                                                                    effective date
           Priority of security int. =                  plan.
            First                                                        End date        = 3 years after
           Principal owed =                                                              effective date
            $5,952.58 less                                                                = 5.50%
                                                                         Interest rate
               adequate protection
                                                                         Total payout    = $6,470.28
               payments
              Total claim amount =                                      Treatment of
               $5,952.58                                                                  = Retained until
                                                                          Lien
                                                                                          completion of
                                                                                          payments


        2.       Classes of Priority Unsecured Claims




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         Certain priority claims that are referred to in Code Sections 507(a)(3), (4), (5), (6), and
 (7) are required to be placed in classes. These types of claims are entitled to priority treatment as
 follows: the Code requires that each holder of such a claim receive cash on the Effective Date
 equal to the allowed amount of such claim. However, a class of unsecured priority claim holders
 may vote to accept deferred cash payments of a value, as of the Effective Date, equal to the
 allowed amount of such claims.
         There are no priority unsecured claims under the plan.

         3.        Class of General Unsecured Claims

         General unsecured claims are unsecured claims not entitled to priority under Code
 Section 507(a). The following chart identifies this Plan’s treatment of the class containing all of

 Debtor’s general unsecured claims:

 CLASS#                DESCRIPTION            IMPAIRED                     TREATMENT
                                                 (Y/N)
              General unsecured               Y, Claims in      Pymt. interval        = Monthly
     4                                        this class are 
              claims                                             Pymt. amt./interval   = $674.27
                                                entitled to
               Total amt of claims =          vote on the      Begin date            = 1st day of
                                                   plan.                               the month
                      $40,456.19                                                       following the
                                                                                       Effective Date
                                                                Interest rate         = 0.00%
                                                                Total payout 100%     = $40,456.19

         Monthly payments shall be made on a pro rata basis based on the value of each unsecured
 claim. Any plan payments returned to the Debtor by unsecured creditors shall become property
 of the reorganized Debtors.

         4.        Class(es) of Interest Holders
         Interest holders are the parties who hold ownership interest (i.e., equity interest) in the
 Debtor. If the Debtor is a corporation, entities holding preferred or common stock in the
 Debtor are interest holders. If the Debtor is a partnership, the interest holders include both
 general and limited partners. If the Debtor is an individual, the Debtor is the interest holder.

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        The Debtor is an individual in this case.

 D.     Means of Performing the Plan
        1.      Funding for the Plan
        The Plan will be funded by the following: Income from Debtor’s operation of Big City
 Dogs, Debtor’s rental income as well as Debtor’s retirement income.
        2.      Post-confirmation Management
        The Debtor shall be responsible for post-confirmation management.
        3.      Disbursing Agent
        Debtor shall act as the disbursing agent for the purpose of making all distributions
 provided for under the Plan. The Disbursing Agent shall serve without bond and shall receive no
 compensation for distribution services rendered and expenses incurred pursuant to the Plan.

                                                III.

                        TREATMENT OF MISCELLANEOUS ITEMS

 A.     Executory Contracts and Unexpired Leases

        1.      Assumptions
        The following are the unexpired leases and executory contracts to be assumed as
 obligations of the reorganized Debtor under this Plan:
        The following are the unexpired leases and executory contracts to be assumed as
 obligations of the reorganized Debtor under this Plan:
        (i)     Lease between Debtor and Bradley & Ivy Johnson for property located at 916 Cal
                Ct., Clarksville, TN.
        (ii)    Lease between Debtor and Megan Zucaro for property located at 1592 Hwy. 79,
                Clarksville, TN.
        (iii)   Lease between Debtor and Janie Kirby for property located at 425 Jenkensville
                Rd., Dyerburg, TN.



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        (iv)    Lease between Debtor and Tim & Anna Hendricks for property located at 712
                Green Valley Dr., Clarksville, TN
        (v)     Lease between Debtor and Charles & Ashley Woods for property located at 1289
                Archwood Ct., Clarksville, TN.
        (vi)    Lease between Debtor and Megan & Zach Sales for property located at 374 D
                Jack Miller Blvd., Clarksville, TN
        (vii)   All residential leases with current tenants.
        On the Effective Date, each of the unexpired leases and executory contracts listed above
 shall be assumed as obligations of the reorganized Debtor. The Order of the Court confirming
 the Plan shall constitute an Order approving the assumption of each lease and contract listed
 above. If you are a party to a lease or contract to be assumed and you object to the assumption of
 your lease or contract, you must file and serve your objection to the Plan within the deadline for
 objecting to the confirmation of the Plan.

        2.      Rejections
        On the Effective Date, the following executory contracts and unexpired leases will be
 rejected:
         All other executory contracts not listed above.

        The order confirming the Plan shall constitute an Order approving the rejection of the
 lease or contract. If you are a party to a contract or lease to be rejected and you object to the
 rejection of your contract or lease, you must file and serve your objection to the Plan within the
 deadline for objecting to the confirmation of the Plan.
        THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM
 ARISING FROM THE REJECTION OF A LEASE OR CONTRACT WAS MAY 29, 2017.

 Any claim based on the rejection of a contract or lease will be barred if the proof of claim is not

 timely filed, unless the Court later orders otherwise.



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 B.     Changes in Rates Subject to Regulatory Commission Approval

        This Debtor is not subject to governmental regulatory commission approval of its rates.

 C.     Retention of Jurisdiction.

        The Court will retain jurisdiction to the extent provided by law.

                                                  IV.

                           EFFECT OF CONFIRMATION OF PLAN
 A.     Discharge

        Pursuant to 11 U.S.C. §1141(d)(5), in a case in which the Debtors are individuals,

 Confirmation of the Plan does not discharge any debt provided for in the Plan until the Court

 grants a discharge on completion of all payments under the Plan. However, §1141(d)(5)(B)

 provides that at any time after the Confirmation of the Plan, and after notice and a hearing, the

 Court may grant a discharge to the Debtors before completing all payments under the Plan if (1)

 the value, as of the Effective Date of the Plan, of property actually distributed under the Plan on

 account of each Allowed Unsecured Claim is not less than the amount that would have been paid

 on such Claim if the estate of the Debtors had been liquidated under Chapter 7 on such date, and

 (2) modification of the Plan under Section 1127 is not practicable. To determine the amount that

 would have been paid if the estate of the Debtors had been liquidated under Chapter 7 on the

 Effective Date of the Plan, please refer to the liquidation analysis contained in the Disclosure

 Statement.

 B.     Revesting of Property in the Debtor
        Except as provided elsewhere in the Plan, the
 confirmation of the Plan revests all of the property of the estate in the Debtor.
 C.     Modification of Plan
        The Proponent of the Plan may modify the Plan at any time before confirmation.
 However, the Court may require a new disclosure statement and/or revoting on the Plan.
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        The Proponent of the Plan may also seek to modify the Plan at any time after
 confirmation
 only if (1) the Plan has not been substantially consummated and (2) the Court authorizes the
 proposed modifications after notice and a hearing.
 D.      Post-Confirmation Status Report
         Within 120 days of the entry of the order confirming the Plan, Plan Proponent shall file a
 status report with the Court explaining what progress has been made toward consummation of
 the confirmed Plan. The status report shall be served on the United States Trustee, the twenty
 largest unsecured creditors, and those parties who have requested special notice. Further status
 reports shall be filed every 120 days and served on the same entities.
 E.      Quarterly Fees
         Quarterly fees accruing under 28 U.S.C. § 1930(a)(6) to date of confirmation shall be
 paid to the United States Trustee on or before the effective date of the plan. Quarterly fees
 accruing under 28 U.S.C. § 1930(a)(6) after confirmation shall be paid to the United States
 Trustee in accordance with 28 U.S.C. § 1930(a)(6) until entry of a final decree, or entry of an
 order of dismissal or conversion to chapter 7.
 F.      Post-Confirmation Conversion/Dismissal
         A creditor or party in interest may bring a motion to convert or dismiss the case under §
 1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court
 orders, the case converted to Chapter 7 after the Plan is confirmed, then all property that had
 been property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan, will
 revest in the Chapter 7, estate. The automatic stay will be reimposed upon the revested property,
 but only to the extent that relief from stay was not previously authorized by the Court during this
 case.
         The order confirming the Plan may also be revoked under very limited circumstances.
 The Court may revoke the order if the order of confirmation was procured by fraud and if the
 party in interest brings an adversary proceeding to revoke confirmation within 180 days after the

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 entry of the order of confirmation.
 G.     Final Decree
        Once the estate has been fully administered as referred to in Bankruptcy Rule 3022, the
 Plan Proponent, or other party as the Court shall designate in the Plan Confirmation Order, shall
 file a motion with the Court to obtain a final decree to close the case.

 Date: July 31, 2017
                                                       /s/ Steven L. Lefkovitz, No. 5953
                                                       STEVEN L. LEFKOVITZ
                                                       Counsel to the Debtor
                                                       618 Church Street, Suite 410
                                                       Nashville, TN 37219
                                                       (615) 256-8300 fax (615) 255-4516




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